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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )
       v.                                    )       No. 22-299 (CKK)
                                             )
DONALD CHILCOAT,                             )
                                             )
                       Defendant.            )
                                             )

              UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE

       Defendant, Donald Chilcoat, through counsel, respectfully requests that the Court

modify the conditions of release currently in place, by replacing the condition of home

detention and location monitoring with a condition that he abide by a curfew. Below are the

reasons in support:

       (1) On August 11, 2022, Mr. Chilcoat was arrested in Ohio on a complaint arising from

            allegations for conduct on January 6, 2021.

       (2) On August 19, 2022, Mr. Chilcoat was released in Ohio on conditions of release,

            including home detention and location monitoring. See ECF No. 14.

       (3) On August 23, 2022, Mr. Chilcoat appeared for an initial appearance in the District

            of Columbia before the Honorable Robin M. Meriweather, who also placed him on

            conditions of release, including home detention and location monitoring.

       (4) Mr. Chilcoat was indicted on September 9, 2022, for one count of Obstruction of an

            Official Proceeding and Aiding and Abetting in violation of 18 U.S.C. §1512(c)(2)

            and, two counts of 18 U.S.C. §1752(a)(1) and (2), and three counts of 40 U.S.C.

            §5104(e)(2)(A), (D), and (G) . See ECF Dkt. No. 20.
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(5) Since August 19, 2022, Mr. Chilcoat has been in compliance with all conditions of

   release and has appeared for all of his court proceedings.

(6) Unfortunately, Mr. Chilcoat was let go from a stable job that he had due to the

   instant charges. He has been looking for employment and has had a lot of trouble

   doing so while being on home detention. Specifically, his efforts to find Millwright

   work (his specialty), have been severely hampered by his conditions of release

   because that kind of work often involves random hours that are not set in advance.

   He has been unable to find companies that will accommodate his home

   detention/location monitoring responsibilities.

(7) In addition, Mr. Chilcoat’s elderly mother requires constant care as she is 80 years

   old and has diabetes. Mr. Chilcoat and his sister usually take turns going to the house

   and doing her chores for her since she cannot move around. In the past few months,

   it has been too burdensome for his sister to take on the sole responsibility of caring

   for their mother.

(8) Given his compliance thus far and his need to work to gain income as well as his

   need to care for his mother, Mr. Chilcoat respectfully requests that the Court modify

   his conditions of release to lift the condition that he be on home detention with

   location monitoring and replace it with a curfew from the hours of 5:00 A.M. to 9:00

   P.M.

(9) Undersigned counsel discussed this request with government counsel, who does not

   oppose this request.

(10) Over the past few months, Mr. Chilcoat has shown that he is not a risk of non-

   appearance and will continue to abide by his pre-trial release conditions.
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                                      Conclusion

       For these reasons, Mr. Chilcoat respectfully requests that the Court grant this motion to

modify conditions of release by removing the condition that he be subject to home detention and

location monitoring and replace it with a condition that he abide by a set curfew.



                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                       /s/

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